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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MAINE

BRETT BABER, et al.,                       )
                                           )
               Plaintiffs,                 )
                                           )   Case No.: 1:18-cv-00465-LEW
          v.                               )
                                           )
MATTHEW DUNLAP,                            )
                                           )
               Defendant,                  )


                  UNOPPOSED MOTION TO INTERVENE
                         OF TIFFANY BOND,
               RACHAEL WOLLSTADT AND KAYLEE MICHAUD

      Tiffany Bond, an independent candidate to represent Maine’s Second

Congressional District, Kaylee Michaud, a registered Maine voter, and Rachael

Wollstadt, a registered Maine voter (collectively, the “Bond Defendants”), through

their undersigned counsel, move to intervene as defendants in the above-captioned

matter pursuant to Fed. R. Civ. P. 24(a)(2) because they hold a unique interest in

the lawful implementation of Maine’s ranked-choice voting laws. Alternatively, the

Bond Defendants respectfully request that the Court allow them to permissively

intervene pursuant to Fed. R. Civ. P. 24(b)(1)(B).

      The Bond Defendants’ motion is unopposed by the parties, and unopposed by

prospective intervenor Jared Golden.

       The Bond Defendants additionally move for leave to supplement this

expedited motion with Fed. R. Civ. P. 24(c) responsive pleadings pursuant to the

briefing schedule to be determined by the Court.
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      Independent congressional candidate Tiffany Bond has a unique and

personalized interest in both the method of tallying ballots cast in the Second

Congressional District election, and in the outcome of the race. Candidate Bond

entered the race with the expectation that Maine’s ranked-choice voting procedures

ensured that an independent candidate for federal office would never become a so-

called “spoiler” by diverting votes from either major party. The Bond Voters, Ms.

Wollstadt and Ms. Michaud, similarly relied upon the availability of ranked-choice

voting procedures when they cast their first-round vote for Ms. Bond knowing that

their secondary and tertiary candidate choices would be tallied if Ms. Bond was

unsuccessful. Plaintiffs now request that the Bond Defendants’ reasonable reliance

on implementation of ranked-choice voting be cast aside to their detriment,

effectively disenfranchising the Bond Defendants from their rightful role in the

ranked-choice voting process.

                                        ARGUMENT

      Intervention of right is available where a party “claims an interest relating to

the … transaction that is the subject of the action, and is so situated that disposing

of the action may as a practical matter impair or impede the applicant’s ability to

protect its interest, unless existing parties represent that interest,” Fed. R. Civ. P.

24(a)(2). Permissive intervention is available at the Court’s discretion wherever

claims share a “question of fact or law in common,” without prejudicing the original

parties. Fed. R. Civ. P. 24(b)(1)(B).

      Courts have recognized that candidates in a contested election have a unique

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and demonstrable interest in the outcome of that election. See Hoblock v. Albany

Cty. Bd. of Elections, 233 F.R.D. 95, 97 (N.D.N.Y. 2005). Hoblock involved a lawsuit

filed by voters against a county elections board alleging that the election board’s

handling of absentee ballots violated absentee voters’ Fourteenth Amendment

protections. Id. The Hoblock Court permitted candidates in the disputed election to

intervene as a matter of right, concluding those candidates must have the right to

“adequately protect their own interests” jeopardized by litigation challenging the

outcome of their election. Hoblock, 233 F.R.D. at 97, 99.     Voters have their own

interest in the elections process distinguishable from a candidate’s interest. See

Griffin v. Burns, 570 F.2d 1065 (1st Cir. 1978). “A person’s interest in participating

in the political process through voting and having his vote counted is a right both

individual and personal in nature.” Griffin, 570 F.2d at 1072 (internal quotations

and citations omitted).

      The Bond Defendants have personalized interests in the November 6, 2018

congressional election unique from all other parties and prospective intervenors.

      Like the Hoblock intervenors, Candidate Bond has a unique interest in the

outcome of the election. Candidate Bond relied upon the availability of Maine’s

ranked-choice voting law, 23-A M.R.S.A. § 723-A, in her decision to enter the race

and campaign in a manner that promoted use of the ranked-choice voting

mechanisms.    Candidate Bond, in turn, has established an interest in both the

election’s outcome, and in ensuring the election’s procedure is consistent with

Maine’s rank-choice voting law which she relied upon as a candidate.

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       The Bond Voters have a distinguishable interest in ensuring that their votes

are counted in a manner consistent with their expectations when they cast ballots

with knowledge of Maine’s ranked-choice voting procedures. See generally Griffin,

570 F.2d at 1072. That means the Bond Voters are entitled to ensure that their

secondary candidate selections are counted in subsequent vote-tallying rounds,

rather than disregarded after a preliminary round of vote tallying.

       No other party – including the Maine Secretary of State – can sufficiently

advocate the Bond Defendants’ interests and legal positions. Adequacy of existing

representation is regarded as “only a minimum barrier to intervention.” Moosehead

Sanitary Dist. v. S. G. Phillips Corp., 610 F.2d 49, 54 (1st Cir. 1979). To overcome

the minimum barrier, “[a]n intervenor need only show that representation may be

inadequate, not that it is inadequate.” Conservation Law Found. of New England,

Inc. v. Mosbacher, 966 F.2d 39, 44 (1st Cir. 1992).

       Marshall v. Meadows, 921 F. Supp. 1490 (E.D. Va. 1996), held that a

prospective intervenor was inadequately represented by the State because the

intervenor raised a laches defense, but the state was not “in a position to argue

[laches] forcefully,” 921 F. Supp. at 1492. Here, similarly, the Secretary of State

cannot demonstrate the same heightened prejudicial reliance on the use of ranked-

choice voting laws that the Bond Defendants would suffer if Plaintiffs’ requested

relief is granted.

       In fact, the Bond Defendants’ respective interests in this matter are centered

on their defense of a reasonable reliance on established ranked-choice voting

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procedures when they participated in the November 6 election.               The Bond

Defendants made decisions to their detriment when deciding to run for office or to

cast their first round vote for an independent candidate. Plaintiffs now seek relief

from the Court that would effectively disenfranchise the Bond Defendants from the

outcome of the election because of their reliance on the availability of ranked-choice

voting procedures. Like Marshall, 921 F. Supp. at 1492, the State’s inability to

make a clear showing of prejudicial reliance here or to forcefully argue the laches

defense entitles the Bond Defendants to intervene to sufficiently advocate for their

interests now threatened by Plaintiff’s Complaint.

      Granting the Bond Defendant’s motion to intervene, either as a matter of

right or as a permissive intervention, will not prejudice any of the original parties –

none of whom oppose this motion – because the Bond Defendants participation in

the matter as intervenors will not require any enlargements of time or

supplemental briefing deadlines. The parties are prepared to timely respond to all

deadlines set by the Court.

                                    CONCLUSION

      WHEREFORE, for the above-stated reasons, Candidate Tiffany Bond and

Voters Kaylee Michaud and Rachael Wollstadt, respectfully request that the Court

grant the unopposed motion to intervene in the above-captioned matter pursuant to

Fed. R. Civ. P. 24(a)(2) or 24(b)(1)(B).




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      Dated at Portland, Maine, this 14th day of November, 2018.

                                        Respectfully submitted,

                                        /s/ James G. Monteleone
                                        Michael R. Bosse, Bar No. 8358
                                        James G. Monteleone, Bar No. 5827

                                        Attorneys for Prospective Intervenors
                                        Tiffany Bond, Kaylee Michaud, and
                                        Rachael Wollstadt

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                           CERTIFICATE OF SERVICE


      I hereby certify that on the date listed below, I filed the foregoing Motion to

Intervene with the Clerk of Court using the CM/ECF system, which will

automatically send notice of such filing to all counsel of record in this matter.


Dated: November 14, 2018                               /s/ James G. Monteleone
                                                      James G. Monteleone




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